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|N THE UN|TED STATES D|STR|CT COURT ""*'~'- '-'-

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UN|TED STATES OF AMERICA

 

P|aintiff

VS.
CR. NO. 05-20254-D

|V|E|KA BR|TTON, a/k/a ShOn
YOLANDA SIV||TH

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
regort date of Thursda)¢l OctoMl 2_(_)(__)5, at 9:00 M, in Courtroom 3. 9th Floor of
the Federal Bui|ding, Memphis, TN.

The period from August 25, 2005 through November18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustioe served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT lS 80 ORDERED this Z_M{_ day of September, 2005.

RN|C B. ONAL
UN|TED STATES DiSTR|CT JUDGE

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with Rule ;,~':` an..i,”o:' 32(b) FFi";;rP on __§ " '\

   

UNITED sATE DSTIIC COURT - WE"RNT DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
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September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

